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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

In re                                    §
                                         §
                                                                    No. 20-35474
EAGLE PCO LLC,                           §
                                                                     Chapter 11
                                         §
                          Debtor.        §
                                         §
In re                                    §
                                         §
                                                                    No. 20-35475
EAGLE PRESSURE CONTROL LLC,              §
                                                                     Chapter 11
                                         §
                          Debtor.        §


        DEBTOR’S EXPEDITED MOTION FOR JOINT ADMINISTRATION AND OTHER
                                    RELIEF


This motion seeks an order that may adversely affect you. If you
oppose the motion, you should immediately contact the moving party
to resolve the dispute. If you and the moving party cannot agree, you
must file a response and send a copy to the moving party. You must
file and serve your response within 21 days of the date this was served
on you. Your response must state why the motion should not be
granted. If you do not file a timely response, the relief may be
granted without further notice to you. If you oppose the motion and
have not reached an agreement, you must attend the hearing. Unless
the parties agree otherwise, the court may consider evidence at the
hearing and may decide the motion at the hearing.

Represented parties should act through their attorney.

Expedited relief has been requested to occur no later than November
18, 2020. If the Court considers the motion on an expedited basis, then
you will have less than 21 days to answer. If you object to the
requested relief or if you believe that the expedited consideration
is not warranted, you should file an immediate response.




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TO THE HONORABLE EDUARDO V. RODRIGUEZ:

       Eagle PCO LLC and Eagle Pressure Control LLC respectfully request that the Court order

the joint administration of their respective bankruptcy proceedings. Joint administration of these

cases is warranted because both Debtors are aﬃliates and have highly related business operations

where substantially all of the business operations of Eagle Pressure Control LLC has been sub-

sumed by Eagle PCO LLC. Joint administration would enable both bankruptcy proceedings to be

more eﬃciently administered by the Debtors-in-Possession and overseen by the United States

Trustee and the Court. In further support, the Debtors respectfully show:



                                              I.
                                          Background

       Eagle PCO LLC filed a voluntary petition under Chapter 11 of the Bankruptcy Code on

November 6, 2020. It is a small business debtor as defined in 11 U.S.C. § 101(51D) and elected to

proceed under Subchapter V of the Bankruptcy Code. Its bankruptcy case is proceeding under

cause no. 20-35474 and is currently assigned to Judge Rodriguez.

       On the same day, Eagle Pressure Control LLC filed a voluntary petition under Chapter 11

of the Bankruptcy Code. It is also a small business debtor as defined in 11 U.S.C. § 101(51D), and

it elected to proceed under Subchapter V of the Bankruptcy Code. Its bankruptcy case is proceed-

ing under cause no. 20-35475 and is currently assigned to Judge Jones.

       Both cases were initiated by “bare bones” filings, and the Debtors intend to file their re-

spective Schedules, Statement of Financial Aﬀairs, and other documents required under 11 U.S.C.

§§ 521 and 1116(1)(B) by November 20, 2020. Both Debtors are operating their businesses as




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Debtors-in-Possession, and there are currently no pending motions for the appointment of a trustee

or an examiner in either case.

            Both Debtors are aﬃliates. Eagle Pressure Control LLC is a holding company that owns a

single asset—a 100 percent membership interest in Eagle PCO LLC. It currently has no checking

account and has not maintained a checking account for over a year. It has a single secured debt,

owed to Aspen Energy Partners, LLC, which is an insider. This debt is secured by all of its assets;

however, because it has no checking account, it looks to its subsidiary, Eagle PCO LLC, to service

the debt.

            Eagle Pressure Control LLC files a Form 1065 partnership tax return with the IRS, and

taxes are passed through to Eagle Pressure Control LLC’s members. Because Eagle PCO LLC is a

wholly-owned subsidiary of Eagle Pressure Control LLC, it is treated by the IRS as a disregarded

entity1 and its taxes are reported on the Eagle Pressure Control LLC tax returns. Essentially all

income and deductions that are reported are from the business operations of Eagle PCO LLC.

            Both Debtors share the same management.

            Additionally, Eagle PCO LLC has registered the assumed name of “Eagle Pressure Con-

trol” with the Texas Secretary of State and conducts business with this assumed name.



                                                            II.
                                                  Jurisdiction & Venue

            This Court has jurisdiction over the subject matter of this Motion pursuant to 28 U.S.C.

1334(a). Being that this Motion concerns matters directly aﬀecting the administration of




1
    See 26 C.F.R. § 301.7701-1(4) (defining disregarded entity); see also id. § 301.7701-3 (additional classification rules).



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bankruptcy estates, this is a core proceeding. See 28 U.S.C. § 157(b)(2)(A). There is no constitu-

tional prohibition to this Court entering a final order concerning this Motion.

       Venue is proper before this Court pursuant to 11 U.S.C. § 1408.



                                                III.
                                          Basis for Relief

       Joint administration is a procedural device to allow the Court to eﬃciently oversee multiple

estates. In re Las Torres Dev., L.L.C., 413 B.R. 687, 693 (Bankr. S.D. Tex. 2009) (Bohm, J.). “‘Joint

administration is designed in large part to promote procedural convenience and cost eﬃciencies

which do not aﬀect the substantive rights of claimants or the respective debtor estates.” Id. (quoting

In re McKenzie Energy Corp., 228 B.R. 854, 874 (Bankr. S.D. Tex. 1998)). Rule 1015(b) provides:

       If a joint petition or two or more petitions are pending in the same court by or
       against . . . a debtor and an aﬃliate, the court may order a joint administration of the
       estates. Prior to entering an order the court shall give consideration to protecting
       creditors of diﬀerent estates against potential conflicts of interest.

       Fed. R. Bankr. P. 1015(b).

       Given the integrated nature of the Debtors’ businesses, joint administration will provide

significant administrative convenience without harming the substantive rights of any party in inter-

est. Many of the motions, hearings, and orders in these Chapter 11 cases will aﬀect each Debtor

entity. The entry of an order directing joint administration of these Chapter 11 cases will reduce

fees and costs by avoiding duplicative filings and objections. Joint administration also will allow the

Oﬃce of the United States Trustee and all parties in interest to monitor these Chapter 11 cases with

greater ease and eﬃciency.

       Moreover, joint administration will not adversely aﬀect the Debtors’ respective parties in

interest because this Motion seeks only administrative—not substantive—consolidation of the


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Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, they will

also benefit from the cost reductions associated with the joint administration of these Chapter 11

cases. Accordingly, the Debtors submit that the joint administration of these Chapter 11 cases is in

the best interests of their respective Estates, creditors, and other parties in interest.

         Finally, given the assumed name of Eagle Pressure Control that is used by Eagle PCO LLC,

joint administration may help alleviate any confusion that may result with the use of similar names.

Already, two proofs of claims have been filed by property tax authorities in the Eagle Pressure Con-

trol LLC case, and these claims should probably have been filed in the Eagle PCO LLC case. 2

         Debtors therefore request that the Court:

         1. Allow the joint administration of these two Chapter 11 bankruptcy proceedings
            under In re Eagle PCO LLC, No. 20-35474 (the “Jointly Administered Case”);

         2. Order that all further pleadings, reports, and notices for either of the Debtors to
            be filed in the Jointly Administered Case.

         3. Order the United States Trustee to attempt to empanel only one creditor’s com-
            mittee for the Jointly Administered Case.

         4. Order a single disclosure statement and plan of reorganization to be filed in the
            Jointly Administered Case.

         5. Allow single monthly operating reports to be filed in the Jointly Administered
            Case, provided that each Debtor shall have the obligation to pay quarterly U.S.
            Trustee fees as required by law.

         Debtors respectfully request that, notwithstanding any joint administration, that each

Debtor be allowed to file a separate set of Schedules and Statement of Financial Aﬀairs in their




2
  The Debtors acknowledge that the ultimate remedy to this situation may be to ask for substantive consolidation of
the two cases once initial debtor conferences with the U.S. Trustee and creditors’ meetings are held. However, because
substantive consolidation is a “extreme and unusual remedy,” the Debtors are not seeking substantive consolidation as
a “first-day” motion. See Gandy v. Gandy (In re Gandy), 299 Fl.3d 489, 499 (5th Cir. 2002); see also Las Torres Dev., 413
B.R. at 693.



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respective cases. Creditors should also be allowed to file separate proofs of claims in the respective

cases.



                                                IV.
                                    Request for Expedited Relief

         While the nature of the relief requested does not rise to the level of an emergency, the Debt-

ors respectfully request that the Court dispense with the usual 21-day period for the filing of re-

sponses before considering a motion because early joint administration will allow the Debtors to

save a substantial administrative burden by eliminating duplicative filings that typically occur early

in Chapter 11 bankruptcy cases. This includes applications to employ counsel for the respective

Debtors-in-Possession and other professionals which would have to be filed in separate cases and

considered by separate judges if this Motion is not considered—and hopefully granted—on an ex-

pedited basis. Therefore, expedited consideration is requested to occur on, or before, November

18, 2020, to allow the timely filing of a single application to employ counsel in the jointly adminis-

tered case.

         Expedited consideration would also eliminate the possibility of disparate scheduling of ini-

tial status conferences, reporting, and meetings of creditors, which is would be likely if separate

cases were pending before separate Judges.

         Finally, Eagle PCO LLC is filing a separate Emergency Motion for Entry of Order (a) Author-

izing Payment of Pre-Petition Wages, Payroll Taxes, Certain Employee Benefits, and Related Expenses

and (b) Directing Banks to Honor Related Pre-Petition Transfers where it is seeking relief by November

13, 2020. As a matter of convenience, the Court may want to take up both motions at the same

time.



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        WHEREFORE, premises considered, Eagle PCO LLC and Eagle Pressure Control LLC,

respectfully request that the Court order the joint administration of their respective bankruptcy

proceedings as set forth in the attached proposed order and grant them all such further relief, con-

sistent with this Motion, which is just.

                                                                 Respectfully Submitted,

                                                                 Pendergraft & Simon, LLP

                                                                 /s/ William P. Haddock
                                                                 Leonard H. Simon
                                                                  Texas Bar No. 18387400
                                                                  S.D. Tex. Adm. No. 8200
                                                                 William P. Haddock
                                                                  Texas Bar No. 00793875
                                                                  S.D. Tex. Adm. No. 19637
                                                                 2777 Allen Parkway, Suite 800
                                                                 Houston, TX 77019
                                                                 Tel. (713) 528-8555
                                                                 Fax. (713) 868-1267

                                                                 Proposed Counsel for Eagle PCO LLC and
                                                                 Eagle Pressure Control LLC




                                           Certificate of Service

I hereby certify that a true and correct copy of the above Debtor’s Expedited Motion for Joint
Administration and Other Relief has been served on the following counsel/parties of record in ac-
cordance with the Fed. R. Bankr. P. 9013, BLR 9013 and local rules for ECF service on this 9th day
of November 2020:

 Counsel/parties appearing in In re Eagle PCO LLC, LLC (No. 20-35474) via ECF:

         Alicia Lenae Barcomb, Counsel for the U.S. Trustee
         Hector Duran, Counsel for the U.S. Trustee
         Oﬃce of the U.S. Trustee

Counsel/parties appearing in In re Eagle Pressure Control LLC (No. 20-35475) via ECF:




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         Tara LeDay, Counsel for Texas Taxing Authorities
         Laura J. Monroe, Counsel for Midland County, et al.
         Alicia Lenae Barcomb, Counsel for the U.S. Trustee
         Hector Duran, Counsel for the U.S. Trustee
         Oﬃce of the U.S. Trustee

Twenty largest general, unsecured creditors, for In re Eagle PCO, LLC (No. 20-35474), excluding insiders via first-
class mail, postage prepaid:

American Express                       Bestway Oilfield                        Meyer Service Company
PO Box 650448                          16030 Market Street                     6733 Leopard St.
Dallas, TX 75255                       Channelview, TX 77530                   Corpus Christi, TX 78409

Atascosa County Tax Oﬃce               Grimes Central Appraisal District       MP Rental &Fishing Services, LLC
1001 Oak Street                        Acct: P68353 / O0009424                 PO Box 599
Jourdanton, TX, 78026                  PO Box 489                              Tomball, TX, 77377-0599
                                       Anderson, TX, 77830

Texas Comptroller Of Public Ac-        OSHA                                    C&W International Fabricators
counts                                 1033 La Posada Drive, Suite 375         5855 Cunningham Road
Capitol Station                        Austin, TX, 78752                       Houston, TX, 77041
PO Box 13528
Austin, TX, 78711

Absolute Control LLC                   Midland Central Appraisal District      Five Star Metals Inc.
2810 Washington Drive                  4631 Andrews Hwy                        8637 Windfern Rd
Houston, TX 77038                      PO Box 908002                           Houston, TX, 77064
                                       Midland, TX, 79708-0002

1189 CR Eagle LLC                      Oracle America Inc                      SAFOCO
475 S. San Antonio Rd.                 Bank Of America Lockbox Serv            PO Box 27246
Los Altos, CA 94022                    15612 Collections Center Dr             Houston, TX, 77227-724
                                       Chicago, IL, 60693

Limh, LLC                              Blaze Sales & Service                   Quench USA, Inc.
820 Holston Hills Dr.                  7824 Scott Street                       PO Box 781393
College Station, TX 77845              Houston, TX 77051                       Philadelphia, PA, 19178-1393

B&J Wholesale LLC                      Kallred Oilfield Services LLC
11997 FM 529                           9266 Ben Tirran Ct.
Houston, TX 77041                      Colorado Springs, CO 80908

Twenty largest general, unsecured creditors, for In re Eagle Pressure Control, LLC No. 20-35475), excluding insid-
ers via first-class mail, postage prepaid:

Internal Revenue Service
Centralized Insolvency Operation
PO Box 7346
Philadelphia, PA 19101-7346

                                                                       /s/ William P. Haddock
                                                                       William P. Haddock




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